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             1     Ashley M. McDow (245114)
                   John A. Simon (admitted Pro Hac Vice)
             2     Shane J. Moses (250533)
                   FOLEY & LARDNER LLP
             3     555 S. Flower St., 33rd Floor
                   Los Angeles, CA 90071
             4     Telephone: 213.972.4500
                   Email: amcdow@foley.com
             5            jsimon@foley.com
                          smoses@foley.com
             6

             7
                                          UNITED STATES BANKRUPTCY COURT
             8
                                           CENTRAL DISTRICT OF CALIFORNIA
             9                                  LOS ANGELES DIVISION

           10      IN RE:                                             CASE NO. 2:19-bk-14989-WB
                                                                      Jointly Administered:2:19-bk-14991-WB;
           11      SCOOBEEZ, et al.1                                  2:19-bk-14997-WB
           12               DEBTOR
                                                                      CHAPTER 11
           13
                                                                      Adversary Case No. 2:19-ap-01456-WB
           14

           15                                                         NOTICE OF ERRATA REGARDING
                   Affects:
                                                                      CORRECTED CAPTION FOR
           16       All Debtors                                      COMPLAINT
           17       Scoobeez, ONLY
           18       Scoobeez Global, Inc., ONLY
           19       Scoobur, LLC, ONLY
           20

           21
                   SCOOBEEZ, INC.,
           22
                                          Plaintiff,
           23
                   v.
           24
                   AMAZON LOGISTICS, INC.,
           25
                                          Defendant.
           26

           27
                            1
                            The Debtors and the last four digits of their respective federal taxpayer identification
           28      numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
                   (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.

4811-7213-8927.1
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             1            Plaintiff Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in
             2     possession (collectively “Debtors”) in the above-captioned chapter 11 bankruptcy cases
             3     (collectively the “Chapter 11 Cases”) hereby file this Notice of Errata with regard to the
             4     Complaint for 1. Violation of the Automatic Stay [11 U.S.C. § 362]; 2. Declaratory Judgment; 3.
             5     Injunctive Relief; and 4. Breach of the Duty of Good Faith and Fair Dealing [AP Docket No. 1],
             6     filed on October 25, 2019 (the “Complaint”).
             7            The Complaint was filed with a form of caption that did not include check boxes
             8     reflecting which of the Debtors were affected. A corrected caption for the Complaint is attached
             9     hereto as Exhibit A. Subsequent filings in this adversary proceeding should use a caption in the
           10      attached form.
           11

           12      DATED: December 16, 2019                       FOLEY & LARDNER LLP

           13
                                                                  /s/ Ashley M. McDow
           14                                                     Shane J. Moses

           15                                                     Ashley M. McDow (245114)
                                                                  John A. Simon (admitted Pro Hac Vice)
           16                                                     Shane J. Moses (250533)

           17                                                     Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
                                                                  GLOBAL, INC., and SCOOBUR, LLC
           18

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                              EXHIBIT A



                                                                          000003
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                   John A. Simon (admitted Pro Hac Vice)
             2     Shane J. Moses (250533)
                   FOLEY & LARDNER LLP
             3     555 S. Flower St., 33rd Floor
                   Los Angeles, CA 90071
             4     Telephone: 213.972.4500
                   Email: amcdow@foley.com
             5            jsimon@foley.com
                          smoses@foley.com
             6
             7
                                          UNITED STATES BANKRUPTCY COURT
             8
                                           CENTRAL DISTRICT OF CALIFORNIA
             9                                  LOS ANGELES DIVISION

           10
                   IN RE:                                             CASE NO. 2:19-bk-14989-WB
           11
                                                                      Jointly Administered:2:19-bk-14991-WB;
                   SCOOBEEZ, et al.1                                  2:19-bk-14997-WB
           12
                            DEBTOR
           13
                                                                      CHAPTER 11
           14
                                                                      Adversary Case No. 2:19-ap-01456-WB
           15
                                                                      COMPLAINT FOR:
           16      Affects:
                                                                      1. VIOLATION OF THE AUTOMATIC
           17       All Debtors                                      STAY [11 U.S.C. § 362];
                                                                      2. DECLARATORY JUDGMENT;
           18       Scoobeez, ONLY                                   3. INJUNCTIVE RELIEF; AND
                                                                      4. BREACH OF THE DUTY OF GOOD
           19       Scoobeez Global, Inc., ONLY                      FAITH AND FAIR DEALING

           20       Scoobur, LLC, ONLY

           21      SCOOBEEZ, INC.,

           22                             Plaintiff,

           23      v.

           24      AMAZON LOGISTICS, INC.,

           25                             Defendant.

           26
           27
                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification
           28      numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
                   (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.

4840-7328-6575.1


                                                         Exhibit A                                           000004
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                                             PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 3579 Valley Centre Drive, Suite 300, San Diego, CA 92130




A true and correct copy of the foregoing document entitled (specify): Notice of Errata will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) 12/16/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)            , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 12/16/19, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.
Honorable Julia W. Brand (via personal delivery 12/17/19)
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  12/16/2019                     Vicki Goldsmith                                          /s/ Vicki Goldsmith
  Date                           Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Richard W Esterkin richard.esterkin@morganlewis.com
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
Ashley M McDow amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
Shane J Moses smoses@foley.com
Jennifer L Nassiri jennifernassiri@quinnemanuel.com
David L. Neale dln@lnbyb.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Eric D Winston ericwinston@quinnemanuel.com




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                F 9013-3.1.PROOF.SERVICE
